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9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 07-1402-SJO

13              Plaintiff,                    GOVERNMENT’S POSITION RE:
                                              SENTENCING FACTORS
14                    v.
15   RICHARD ALLEN GOODHEART,                 Date: December 15, 2014
                                              Time: 9:00 a.m.
16              Defendant.                    Place: Courtroom of the Honorable
                                                     S. James Otero
17

18
           Plaintiff United States of America, by and through its counsel
19
     of record, the United States Attorney’s Office for the Central
20
     District of California, hereby submits its Position Re: Sentencing
21
     Factors.    This filing is based on the attached Memorandum of Points
22
     and Authorities and exhibits, the files and records in this case,
23

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1    and any further evidence and argument as may be presented at the

2    sentencing hearing.

3    Dated: November 10, 2014             Respectfully submitted,

4                                         STEPHANIE YONEKURA
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                                          ROBERT E. DUGDALE
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8                                               /s/
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1                         GOVERNMENT’S SENTENCING MEMORANDUM
2    I.    INTRODUCTION
3          The government concurs with the findings and position of the

4    probation officer as set forth in the presentence report.            The

5    government believes that a low-end sentence of 57 months is

6    appropriate.

7    II.   FACTS
8          Defendant pled guilty to one count of conspiracy, in violation

9    of Title 18, United States Code, Section 371.          Defendant’s conviction

10   is based on his participation in a fraudulent telemarketing operation

11   based in Montreal, Quebec, Canada, that targeted elderly victims in

12   both Canada and the United States.        In the plea agreement, defendant

13   agreed to the following statement of facts:

14              Beginning as early as 2004, and continuing through
           December 2006, several individuals engaged in a conspiracy
15         to commit mail and wire fraud. Defendant knowingly joined
           this conspiracy intending to accomplish its objects. The
16         conspiracy operated as follows: working in a location in
           Montreal, Quebec, Canada, telemarketers committed fraud
17         against victims in Canada and the United States, including
           victims located in the Central District of California. In
18         November 2006, defendant joined this conspiracy as a
           telemarketer. Defendant’s co-conspirator obtained “leads,”
19         that is, names and contact information of potential victims
           in the United States and Canada. Working from the leads,
20         defendant and other telemarketers contacted victims by
           telephone and mail and falsely informed them that they had
21         won a large sum of money in a sweepstakes or lottery. As
           defendant then knew, this representation was false and
22         fraudulent, as there was no sweepstakes or lottery, and the
           victim called had not won any sum of money from defendant
23         or anyone with whom he was associated.

24              Defendant and other telemarketers falsely told the
           victims that, in order to collect their “winnings,” the
25         victims had to pay a sum of money, which the telemarketers
           falsely represented was for taxes, administrative fees,
26         insurance, legal fees, and other expenses that purportedly
           had to be paid before the “winnings” could be sent to the
27         victims. As defendant then knew, these representations
           were false and fraudulent, as there were no winnings to be
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1          sent and the victims had no reason to send money to
           defendant or anyone with whom he was associated.
2

3
                Defendant and other telemarketers instructed the
4          victims to send the money for the purported expenses and
           fees required for release of their winnings in a variety of
5          ways: (i) By wire transfer via Western Union or MoneyGram,
           either in a name of the victim’s choosing, or in a name
6          supplied by the telemarketers; (ii) by mail or by
           commercial carrier, such as Federal Express, to an address
7          supplied by the telemarketers; and (iii) by wire transfer
           from the victim’s bank account into a bank account
8          controlled by a co-conspirator. Defendant would receive a
           percentage of the money he obtained from victims he called.
9
                During defendant’s employment, the loss caused by
10         defendant and his co-conspirators was $490,732.14 to 96
           victims.
11
                In furtherance of the conspiracy and to accomplish the
12         objects of the conspiracy, on November 23, 2006, defendant
           contacted a co-conspirator and supplied him with
13         information regarding the pickup of money sent via
           MoneyGram by victim M.L.
14
15   III. SENTENCING FACTORS
16         The government believes that an evaluation of the factors set
17   forth in 18 U.S.C. § 3553(a) demonstrates why a sentence at the low
18   end of the range of 57-60 months is appropriate.
19         A.    “(1) the nature and circumstances of the offense and the
                 history and characteristics of the defendant.”
20

21         This case involves an egregious fraud that targeted the elderly

22   and infirm.    As a telemarketer, defendant personally cheated these

23   victims out of money they could hardly afford to lose.            The

24   callousness and disregard of basic human decency make this a very,

25   very serious crime.     However, defendant’s involvement was fairly

26   short, and the government has no knowledge of his involvement in

27   criminal activity following his arrest in Canada in 2006.

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1          B.     “(2) the need for the sentence imposed
2                1.   “(A) to reflect the seriousness of the offense, to
                      promote respect for the law, and to provide just
3                     punishment for the offense.”
4          The government believes that a sentence of 57 months is

5    necessary to reflect the seriousness of this offense, as well as to

6    promote respect for the law.       The government believes a longer

7    sentence is not necessary to provide just punishment for the offense,

8    given the age of the conduct.

9                2.   “(B) to afford adequate deterrence to criminal
                      conduct.”
10
           The government believes that 57 months incarceration will deter
11
     defendant from ever engaging in this type of conduct again, and also
12
     provides general deterrence to others.
13
                 3.   “(C) to protect the public from further crimes of the
14                    defendant.”
15         The government believes that, given defendant’s crime, balanced

16   against the passage of time, defendant poses some danger to the

17   public, as he is well versed in the ways of the scammer.            As a

18   further consideration, unlike in the “mine run” of cases, defendant

19   will not be on supervision following his release from custody, as he

20   will be deported.     Thus, he will be under no conditions designed to

21   protect the public, and there will be no way to monitor his

22   activities.

23               4.   “(6) the need to avoid unwarranted sentence
                      disparities among defendants with similar records who
24                    have been found guilty of similar conduct.”
25         Following a guidelines sentence avoids disparity between

26   similarly situated defendants.       United States v. Green, 592 F.3d

27   1057, 1072 (9th Cir. 2010) (sentencing guidelines exist to create

28   national uniformity of sentencing); quoting United States v.

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1    Becerril-Lopez, 541 F.3d 881, 895 (9th Cir. 2008) (“[W]e have trouble

2    imagining why a sentence within the Guidelines range would create a

3    disparity, since it represents the sentence that most similarly

4    situated defendants are likely to receive”).

5          The government believes a 57-month sentence in this case also

6    avoids unwarranted disparities between defendant and his co-

7    defendants.      Co-defendant Bellini received a sentence of seven years.

8    He was far more culpable than defendant, but also cooperated

9    extensively.     The government is requesting a sentence of 60 months

10   for co-defendant Alexander, because his involvement was more

11   extensive than that of defendant.        Co-defendant Alexander

12   Andriopoulos, who received probation, was only very tangentially

13   involved in this case.      And co-defendant Rayme Freedman, who received

14   pre-trial diversion, was a lead seller whose knowledge of the offense
15   was difficult to prove.
16               5.     “(7) the need to provide restitution to any victims of
                        the offense.”
17

18         Given that defendant will be deported when released from

19   custody, the government doubts that he will ever voluntarily pay

20   restitution.

21         As demonstrated by the discussion above, the factors pursuant to

22   18 U.S.C. § 3553(a) demonstrate that a low-end sentence of 57 months

23   is appropriate.

24   IV.   CONCLUSION
25         For the foregoing reasons, the government asks this court to

26   sentence defendant to a term of incarceration of 57 months, based on

27   an offense level of 25, a criminal history score of I, and a

28   guidelines range of 57-60 months.

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